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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
             v.                                )          No. 4:20 CR 318 SEP / DDN
                                               )
DEWAYNE FAIR,                                  )
                                               )
                      Defendant.               )

                                            ORDER
       IT IS HEREBY ORDERED that a hearing on the pro se motion of defendant Dewayne Fair
for the appointment of new counsel (Doc. 49) is set for Wednesday, December 23, 2020 at 1: 30 p.m.




                                                    /s/ David D. Noce    k
                                             UNITED STATES MAGISTRATE JUDGE
Signed on December 18, 2020.
